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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MORRIS R. REEVES,                             )
                                              )
               Plaintiff,                     )
                                              )
        v.                                    )      Case No. 10 CV 3316
                                              )
THE BOARD OF TRUSTEES OF THE                  )      Judge Rebecca Pallmeyer
UNIVERSITY OF ILLINOIS                        )      Magistrate Judge Susan E. Cox
                                              )
               Defendant.                     )

                     FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)
                               MOTION TO DISMISS

        Defendant, The Board of Trustees of the University of Illinois (the “University”), by its

attorney, Norman P. Jeddeloh, Arnstein & Lehr LLP, of counsel, moves this Court, pursuant to

Federal Rule of Civil Procedure 12(b)(6), for entry of an order dismissing Plaintiff’s Complaint

(“Complaint”) with prejudice. In support of this motion, University submits its Memorandum of

Law in Support of the FRCP Rules 12(b)(6) Motion to Dismiss of the Board of Trustees of the

University of Illinois.



                                                     Respectfully submitted,

                                                     THE BOARD OF TRUSTEES OF THE
                                                     UNIVERSITY OF ILLINOIS AT
                                                     CHICAGO

                                                     By:_/s / Norman P. Jeddeloh
                                                            One of Its attorneys
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